8/2/2021                 Case 1:20-cv-08924-CM            Document
                                  More Training, More Reforms:            232-3
                                                               New York City           Filedto08/16/21
                                                                             Outlines Changes  Protest ResponsePage
                                                                                                                | City of 1 ofYork
                                                                                                                          New  2
Skip Main Navigation
  Menu
The Official Website of the City of New York


Text Size
 Select Language
Powered by            Translate
Search Search                                  Search


Secondary Navigation
MayorFirst LadyNewsOfficials


More Training, More Reforms: New York City
Outlines Changes to Protest Response
April 20, 2021

NEW YORK—Mayor Bill de Blasio today updated New Yorkers on the City’s new guidance for protests.
The changes, made in the wake of last summer’s protests following the killing of George Floyd, build on
the recommendations made by Department of Investigation to protect the first amendment rights of
protestors and legal observers.

“There were clear lessons to be learned from the protest response last year and a desire to see real, on
the ground changes,” said Mayor Bill de Blasio. “We’ve taken these recommendations seriously and
our message to New Yorkers is clear: your City is here to uplift your voice and protect your right to
protest peacefully while maintaining a safe community.”

‘’The NYPD remains committed to facilitating lawful, non-violent protests. Protest, freedom of speech
and assembly are guaranteed by the Constitution that we are all sworn to uphold. We feel that the
constructive recommendations of the City’s Department of Investigation and the Law Department have
been helpful in developing an improved approach to organized protest. We have made significant
strides in implementing the most practical aspects of those recommendations so that they are already
in effect in the field. We continue to develop and implement others.” said Police Commissioner
Dermot Shea.

The NYPD has made a number of reforms and improvements in their approach to handling protests,
drawing from recommendations made by the Department of Investigation, Law Department, and their
own internal review.

These changes include, but are not limited to:

           Designating representatives from NYPD Community Affairs as key liaisons on the ground at
           protests

           Improved access for legal observers
https://www1.nyc.gov/office-of-the-mayor/news/286-21/more-training-more-reforms-new-york-city-outlines-changes-protest-response      1/2
8/2/2021              Case 1:20-cv-08924-CM             Document
                                More Training, More Reforms:            232-3
                                                             New York City           Filedto08/16/21
                                                                           Outlines Changes  Protest ResponsePage
                                                                                                              | City of 2 ofYork
                                                                                                                        New  2
           Better collaboration and coordination with protest organizers, clergy, and community members
           before and during protests

           Staging specialized units away from demonstrations to reduce the potential for escalation

           Configuring police barricades as to not unreasonably restrict movement

           Ensuring that feedback from community staff on the ground at protests is incorporated into official
           guidance and training for officers

Since last summer, the NYPD has also completed new field trainings for approximately 10,000 of its
officers. This training is ongoing and outlines how officers should protect the first amendment rights of
protestors, including appropriate crowd-control tactics and de-escalation involving large-scale
incidents. Kettling is not an acceptable tactic and will not be used by the Department. Additionally, a
new training program—Constitutional Policing at Community Events—will also launch this month in
response to the specific protest recommendations set forth by the Department of Investigation, the City
Law Department, and the NYPD’s own internal review.

New Yorkers can also track the progress of the NYPD’s implementation of the Department of
Investigation’s recommendations through the City’s online tracker.

Media Contact
pressoffice@cityhall.nyc.gov
(212) 788-2958




https://www1.nyc.gov/office-of-the-mayor/news/286-21/more-training-more-reforms-new-york-city-outlines-changes-protest-response    2/2
